Case 3:19-cv-10375-RHC-SDD ECF No. 73, PageID.3042 Filed 04/29/21 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


    INTERVARSITY CHRISTIAN                     Civil Action No.
    FELLOWSHIP/USA, et al.,                    3:19-CV-10375-RHC-SDD
                Plaintiffs,
     v.                                        STIPULATION REGARDING
                                               COURT’S ORDER FOR
    BOARD OF GOVERNORS OF                      ADDITIONAL BRIEFING ON
    WAYNE STATE UNIVERSITY, et                 COUNTS 10 AND 16-19
    al.,
                Defendants.




          Pursuant to the Court’s Opinion and Order Granting Plaintiffs’ Motion for

Partial Summary Judgment, Granting in Part and Denying in Part Defendants’

Motion for Summary Judgment, and Ordering Additional Briefing (the “Order”)

(ECF No. 69, as amended by ECF No. 70 1), the Parties hereby stipulate as follows:

          1.    The Parties filed and fully briefed cross motions for summary

judgment. (See generally ECF Nos. 45, 47, 53, 55, 58, and 59.) Defendants sought

summary judgment on all counts, but Plaintiffs only moved on certain counts.

Plaintiffs did not move for summary judgment on the following claims: Free Speech

Rights under the Michigan Constitution (Counts 16-19); the Equal Protection Clause



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  Because the amendment addressed only typographical errors, the Parties refer
herein to the original Order.

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Case 3:19-cv-10375-RHC-SDD ECF No. 73, PageID.3043 Filed 04/29/21 Page 2 of 4




(Count 10); the Due Process Clause (Count 20); and the Elliott Larsen Civil Rights

Act (“ELCRA”) (Count 13).

        2.   On April 5, 2021, the Court entered the Order. In relevant part, the

Court denied Defendants’ motion for summary judgment on Plaintiffs’ free speech

claims under the Michigan Constitution (Counts 16-19) and Plaintiffs’ claim under

the Equal Protection Clause (Count 10). (See ECF No. 69, PageID.2929-2931.) The

Court gave notice to the parties that it would sua sponte consider summary judgment

in favor of Plaintiffs on these claims. (Id.)

        3.   Accordingly, the Court ordered that “Defendants shall respond to the

court’s consideration of summary judgment as to Plaintiffs’ claims under the

Michigan Constitution (Counts 16-19) and the Equal Protection Clause (Count 10)

by April 26, 2021. Plaintiffs may reply by May 10, 2021. Parties may submit a

stipulation in lieu of briefing.” (Id., PageID.2937.)

        4.   The Parties, having conferred, believe that these issues have been fully

briefed and that the interests of efficiency and judicial economy will be served by a

ruling of the Court on Plaintiffs’ claims under the Michigan Constitution (Counts

16-19) and the Equal Protection Clause (Count 10) without further briefing by the

Parties.

        5.   The Parties make this stipulation without any reference to the merits of

the arguments presented.



38990766.1
Case 3:19-cv-10375-RHC-SDD ECF No. 73, PageID.3044 Filed 04/29/21 Page 3 of 4




        6.    The Parties stipulate that the failure to submit further briefing shall not

impact any Party’s ability to appeal the Court’s ultimate decision on Plaintiffs’

claims under the Michigan Constitution (Counts 16-19) and the Equal Protection

Clause (Count 10).

        For all the foregoing reasons, the parties jointly request that this stipulation be

affirmed. A proposed order is included.



Dated: April 26, 2020                         Respectfully submitted,

 By: /s/ Lori H. Windham (w/                   By: /s/ Andrew M. Pauwels
 permission)                                   J. Michael Huget (P39150)
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Case 3:19-cv-10375-RHC-SDD ECF No. 73, PageID.3045 Filed 04/29/21 Page 4 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 INTERVARSITY CHRISTIAN                      Civil Action No.
 FELLOWSHIP/USA, et al.,                     3:19-CV-10375-RHC-SDD
              Plaintiffs,
                                          ORDER GRANTING
    v.                                    STIPULATION REGARDING
                                          COURT’S ORDER FOR
                                          ADDITIONAL BRIEFING ON
 BOARD OF GOVERNORS OF                    COUNTS 10 AND 16-19
 WAYNE STATE UNIVERSITY, et
 al.,
              Defendants.

    The Court, having considered the Parties’ Stipulation, ORDERS that

    (1) The Stipulation is hereby GRANTED;

    (2) The Court shall rule on the Court’s sua sponte consideration of summary
        judgment in favor of Plaintiffs’ on their claims under the Michigan
        Constitution (Counts 16-19) and the Equal Protection Clause (Count 10)
        without further briefing by the Parties; and

    (3) This Order does not preclude appeal by either party of the Court’s order
        regarding Plaintiffs’ claims under the Michigan Constitution (Counts 16-19)
        and the Equal Protection Clause (Count 10).

Dated: April 29, 2021

                                s/Robert H. Cleland
                                JUDGE ROBERT H. CLELAND
                                UNITED STATES DISTRICT COURT




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